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             EXHIBIT Q
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                    UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF MASSACHUSETTS




United States of America, State of
Arizona, State of California, District of                Case No. 1:21-cv-11558-LTS
Columbia, State of Florida,
Commonwealth of Massachusetts,
Commonwealth of Pennsylvania, and                        CONFIDENTIAL
Commonwealth of Virginia
                    Plaintiff,

         v.


American Airlines Group Inc.,


         and


JetBlue Airways Corporation,
                    Defendants.




        EXPERT REPLY REPORT OF NATHAN H. MILLER, PH.D.

                                          August 8, 2022




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rivals a signal to expect capacity growth, that signal is limited to a message that
growth somewhere is likely, not a signal that American and JetBlue will
increase capacity everywhere or even increase it anywhere specifically.

     What rivals do know about the NEA in terms of capacity choices and
specific markets is that the NEA enables American and JetBlue to coordinate
capacity planning for specific NEA markets. As I discussed in my initial report,
such coordination has different implications from any unilateral incentive
effects of isolated terms in the detailed MGIA revenue sharing formula.217 This
joint capacity planning is where the NEA aligns Defendants’ incentives to
maximize joint profit in each NEA market,218 whether that be by expanding
capacity and lowering price or by reducing capacity and raising price. I analyzed
the competitive effects of these incentives to maximize joint profit, subject to
the revenue sharing under the MGIA, in my initial report.

      The results from my initial report are clear. In NEA nonstop overlap
markets, Defendants’ incentives are to reduce capacity and raise prices, which
leads to significant harm to consumers.219 None of the math in Dr. Israel’s
Appendix contradicts this result. In fact, in section 4.4.3 I use Dr. Israel’s own
code to show that the incentive to reduce capacity and raise prices on NEA
nonstop overlap routes remains in Dr. Israel’s Stackelberg model. In addition,
Dr. Israel argues that for Defendants to find it profitable to expand capacity in a
particular market, it must be the case that their “rivals [in that market] are
relatively large”220 in terms of their market share. However, rivals’ market
shares are not relatively large in nonstop overlaps—instead, I showed in my
initial report that those markets are highly concentrated, that Defendants have
a significant market share, and that rivals are unable to prevent Defendants
from exercising market power under the NEA by raising prices (and lowering
quantities).221



217 This underscores the point I made in my initial report that it is not appropriate to analyze the incentives of the

MGIA revenue sharing formula—a single component of the NEA—in isolation, but rather an analysis of the
incentives created by the NEA should include an analysis of all of the features of the NEA.
218 I note that Dr. Israel’s “Generalization” in his Appendix does not show, as he asserts, that “with the revenue

sharing agreement terms, it is on the margin profitable for American and JetBlue to increase their aggregate
capacity.” In particular, Dr. Israel continues to focus on each Defendant’s unilateral incentive—i.e., the incentive
of the Defendant who owns the plane. This does not reflect their joint incentives (i.e., those that exclude any
exploitation incentive) that they would act upon when they jointly set capacity on a route.
219 In footnote 46 above, I also showed that this result holds regardless of whether I model Bertrand competition

as I did in my initial report or Cournot competition as Dr. Israel suggests.
220 Israel Report, Appendix, ¶¶ 30–32.

221 Miller Report §§ 6.1, 6.3.




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